          Case 8:19-ap-01202-TA                    Doc 10 Filed 01/17/20 Entered 01/17/20 12:19:03                                      Desc
                                                    Main Document    Page 1 of 1
                                                                                                                         ORDER No.
                                        UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

                                                       TRANSCRIPT ORDER FORM
                                                                                                                        CHAPTER 7.00
                                                                                                                        APPEAL?               Yes        No
     (File this form on the related case docket)                                                                        APPEAL No.
                                                                                                                                            (if known)
   Ordering Party’s Name: Baruch C. Cohen, Esq.                                                Attorney Bar#        159455

   Law Firm: Law Office of Baruch C. Cohen, APLC
   Mailing Address: 4929 Wilshire Boulevard, Suite 940 Los Angeles, CA 90010


   Person to Contact (If Judge-ordered: Transcriber to contact Procurement**): Baruch C. Cohen
   Telephone: ( 323            937-4501
                              )______________ E-mail: bcc@baruchcohenesq.com
   Bankruptcy Case #: 8:19-bk-12480-TA                                    Adversary Proceeding #/MP #: 8:19-ap-01202-TA
   Date of Hearing (complete a SEPARATE form for EACH hearing date): 1/16/2020                                         Time: 10:00am
   Debtor: Guy Griffithe
   Adversary Proceeding Name: Wick                                                         vs. Guy Griffithe
   Hearing Judge: S. Clarkson                                                              Courtroom #: SA 5C
                Briggs Reporting
   TRANSCRIBER: _____________________________ALTERNATE:  Ben Hyatt
                                                        _______________________________
   (Select from the Court-approved list of Transcription Service Providers. This provider will contact you regarding payment)

   341(a) MEETING OF CREDITORS: The Meeting of Creditors is recorded by the Trustee. DO NOT USE THIS
   FORM. For 341(a) Recording Request Procedures, visit the U.S. Trustee website www.justice.gov/ust/r16
    Transcript Type:                NOTE: The Court is not responsible for determining if a hearing has been previously
                                    transcribed. Check the case docket to determine if a filed transcript already exists or is
                                    being transcribed before filing this form.
                                    Copy of Existing Transcript: Contact the transcriber directly for a copy.
        Ordinary (30 days)               3 Days                    Entire Hearing
        14 Days                          Daily (24 hours)          Ruling/Opinion of Judge only
        7 Days                                                     Testimony of Witness
                                                                   Other*                           (name of witness)
    *Special Instructions: provide transcripts for #6.1 & #7
    Transcript due dates are computed from the date the deposit is received by the Transcriber. The cost of a
    transcript varies for each type. See Transcript Ordering Instructions, Transcript Costs/Forms of Payment.

                                                  TO BE COMPLETED BY THE COURT
     Judge Ordered Transcript**: Clerk must docket this form; CM/ECF will automatically notify Procurement.
  Date Request Filed:                           Date Sent to Transcriber:                         By      FDS       Mail      Messenger
  Digital Recording (or Analog Tape Recording)
  (Tape #:         )Time Start (Index #):                   Time End (Index #):                  Time Start:                 Time End:

  (Tape #:         )Time Start (Index #):                   Time End (Index #):                  Time Start:                 Time End:
  Court Recorder:                                          Division:                      Processed by:

                                                      **TRANSCRIBER INSTRUCTIONS
Judge-ordered transcripts: email price quote & invoice to procurement@cacb.uscourts.gov. Provide quote prior to transcribing.
 Rev. 1RYHPEHU 2018. This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
